 Case 3:19-cv-02310-E Document 45 Filed 03/29/22   Page 1 of 3 PageID 17937



               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

MATTHEW JOHNSON,                   §
       Petitioner,                 §
                                   §
v.                                 § CIVIL ACTION NO. 3:19-CV-2310-E
                                   § (U.S. District Judge Ada Brown)
BOBBY LUMPKIN,                     § DEATH PENALTY CASE
Director, Texas Department of      §
Criminal Justice, Correctional     §
Institutions Division,             §
            Respondent.            §

                RESPONDENT LUMPKIN’S NOTICE OF
                    APPEARANCE OF COUNSEL

     This case is a federal habeas proceeding filed pursuant to 28 U.S.C.

§ 2254 by Texas death row inmate Matthew Johnson. The undersigned

attorney hereby enters this appearance of counsel on behalf of Respondent

Bobby Lumpkin and respectfully requests that a copy of all future pleadings,

orders, and other correspondence be served on him at the address below.
 Case 3:19-cv-02310-E Document 45 Filed 03/29/22   Page 2 of 3 PageID 17938



                                  Respectfully submitted,

                                  KEN PAXTON
                                  Attorney General of Texas

                                  BRENT WEBSTER
                                  First Assistant Attorney General

                                  JOSH RENO
                                  Deputy Attorney General
                                    for Criminal Justice

                                  EDWARD L. MARSHALL
                                  Chief, Criminal Appeals Division


                                  /s/ Stephen M. Hoffman
* Attorney-in-charge              *STEPHEN M. HOFFMAN
                                  Assistant Attorney General
                                  Texas Bar No. 24048978
                                  P. O. Box 12548, Capitol Station
                                  Austin, Texas 78711
                                  Tel: (512) 936–1400
                                  Fax: (512) 320–8132
                                  Email: Stephen.Hoffman@oag.texas.gov

                                  ATTORNEYS FOR RESPONDENT




                                     2
 Case 3:19-cv-02310-E Document 45 Filed 03/29/22     Page 3 of 3 PageID 17939



                       CERTIFICATE OF SERVICE

      I do hereby certify that on March 29, 2022, I electronically filed the

foregoing document with the Clerk of the Court for the U.S. District Court,

Northern District of Texas, using the electronic case-filing system of the Court.

The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to

the following counsel of record, who consented in writing to accept the NEF as

service of this document by electronic means:

Jeffrey Robert Newberry
University of Houston Law Center
4604 Calhoun Road
Houston, TX 77204-6060
jrnewber@central.uh.edu

&

David R. Dow
University of Houston Law Center
4604 Calhoun Road
Houston, TX 77204-6060
ddow@central.uh.edu

                                     /s/ Stephen M. Hoffman
                                     STEPHEN M. HOFFMAN
                                     Assistant Attorney General




                                       3
